Case: 1:22-cv-01291 Document #: 1-4 Filed: 03/10/22 Page 1 of 3 PageID #:39




                    Exhibit D
                                                      Case: 1:22-cv-01291 Document #: 1-4 Filed: 03/10/22 Page 2 of 3 PageID #:40
                                               el
earing Date: No he                                       heduled
ocation: <<CourtR 00                                           BEHS             2appre Sveg by lid Honors Supren
                                                                                                                                                                    Luoert
idge: Calendar, 3 §7TATE OF ILLING! Ss,                                                                                                    art                   ra ecmands                        egusrad
                                                                                                                                                                                                            —               102 4e iczepled in ail thinois Circuit
                                                                                                                                                                                                                                  — ——                            —Couns,
                                                                                                                      i                                                                                                                                                                        Gis                                          —
                                                                                                                                           IE                   A VAT               ph        mis                                                                              FILED
                    CIRCUIT COURT                                                                                                     AFFILAYIT                                OF 3ERVICE OF                                                                                   2/16/2022 2:41 PM
          !
                                                                                                                  ;                                         SUMMONS AND
                                      Cook                                     17] COUNTY                                                                                                                                                                                      IRIS Y. MARTINEZ
                        |                                                                                                                  COMPLAINT/FETITION                                                                                         |                        CIRCUIT CLERK
                                                                                                                  i                                     ’                                                                                         !                            COOK                  COUNTY,                           IL
                                                                           “1             TTT
                   bi

                            Instr actions                                                                                        me                                    Hd                                                           —_                                         2022CH01062
                            Enter           al SAAR
                                                                                                                                                                                                                                                                               Calendar, 3

               ;
                                                      ¢ 111
                [county name wha
                                                                                                                                                                                                                                                                               16735962


               ;
                            th        Sane wit        11)                   !    AT iE NA
                                 [A
                                                                                                     | 23 CG IN CLubat,
                                 nisr   youl
                                                 "NATE        KS           i     “Piainut           J Petitioner 1ST                                        Pra        Lut far
                            Maint! Pet voner,



               ;
                            i titer ihe name iia 5
                            POOR YOU Sang ws |W
                        Def           nls     (i Regen
                                                                                 SCAUN OVERTON, INDIVIDUALLY4 AS PART OF THE ¢ |
                                               ——             rene
               ed “ter the Case
               ©Number grven by he                                              “Dsfondant /-Rusy Shar
                                                                                                    {Gerrs                                                      t
                                                                                                                                                                                                                                                               2022001082
                                                                                                 p                                         :                           dle
                                                                                                                                                                      dcde.          1st 7 nae)
                                                                                                                                                                                    ist                                        ’
                   Circuit Clerk,                                                                                                                                                    SLAT  S,                                             .                   Case Number                                                      a
                                                  RSE                           SR

                                                                                  **Stop. Do notFon                                                the form. The sheriff will fil} in the torm
                                                                                                                                                                                                                                                                     >

           |    DO NOT counisie
                this section, The
                                                                   |
                                                                       1
                                                                                 My name is Clviss
                                                                                                 i} x                                               Ca
                                                                                                                                                                           :
                                                                                                                                                                          Loe                         wi
                                                                                                                                                                                                   l afo uA . nN                                                             and | swaar under oath
       |
                                                                                                                            jest, pe               , Las!
                sherifr will complete
               i.                                                      i         that         served the Summers                                                and ComplaintiPctition on the DefendantiRespondent

                                                                   "Shaun elhon
                                                                                 Fire:    Midate,                                                                                                            — ee                       as follows:


                                                                                          X          Mi                               or Hh Gt Ran Respartianl:                                                                    Lote                   3303As                              Bald tng,
                                                                                                     Males:                      yg        TENE
                                                                                                                                            ;   ;                                             AODTGA Age
                                                                                                                                                                                                       4                           Ear SW                      han ¥e uw+1   Col   Ot.        (=wr    i
                                                                                                     Heian                  So"                ol           JT       £1         3         168       -       101 iths
                                                                                                                                                                                                                                                                                                      <4                 Hoc
                                                                                                     on this ante                          7 ~ {0-22                                                             ati i             ie                         zs                   mm
                                                                                                     dress w                                                                                                                                                                                    ‘arn,                    Np.
                                                                                                                                      lB                Lo HacerA RA She                                                                                  7 A
                                                                                                                                                                                                                                                                                                                         CaN


                                                                                                     Shy, State, 710                               Hung Ta                                 TX                                                 mn                             ——               se              Arms                 "
                                                                                         Lu                the Jetendanc Responders                 a
                                                                                                                                                                                                  Lome,
                                                                                                       =   this
                                                                                                                           dats x,             Re                                           —-—         a       qb    ees
                                                                                                                                                                                                                      Is ot hime:or                        eer,                          po
                                                                                                                                                                                                                                                                                         ba AOL
                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                     T {pm
                                                                                                    hn
                                                                                                    City, Slate, Zim;
                                                                                                                                                                                                                                                                                                              ST
                                                                                                    And Gh * wth:
                                                                                                                                                                                                                                                                                   CT
                                                                                                                                                   First, Mictin, Las                                                         i               ih                             ——                                      —         T
                                                                                                    Male:                 i             Female                             r                      Apnroy.              Age:
                                                                                                anc oy sending a copy to thes defendan
                                                                                                                                       t in a ruslage                                                                                         paid, sealsd cvelons io ihe
                                                                                                abvve address on
                                                                                                                                          ie                .        ———       dt
                                                                                                                                                                                nn en                            ke




                                                                                                     fi the C orhoralon's age
                                                                                                                    :                                                                    Hirst          ce, [aes                              -                                               Hn
                                                                                               Onthis gate:                                                                                                 BL Hs we                                      —                          Clam.
                                                                                               Audress,                                                                                                                                                                                                                  lpm
                                                                                               GC    wy,   wl
                                                                                                           8              tae,   ZF            :
                                                                                                                                                                                                                                                                TT                                        i               TT
       Ni)
                        --
                        on




                                                                                                                                                                                                                                                                                                                                   an
                                                                                                                                                                                                                                                                                                                                     =)
                                  Case: 1:22-cv-01291 Document #: 1-4 Filed: 03/10/22 Page 3 of 3 PageID #:41

               pos NUE             mpi:                       i             By:
           !        ko   evi 1        -                   f
           | sheriffoo priv oe                            1                 Fy            "                 if
                                                                                     /1                                     Vz;4 >
                   PFOCESS   +0   ier yi]


                                                                                                   [77D
                                                      ]                 i        J                 PIAL                 ALYS
           ! commlete ii.                                               Sgt
                                                                                                                            7
                   sn             mee.      ser   {
                                                                                                                                             FEES
                                                                            MN
                                                                                                                                             By certified iegistered
                                                                        hy (5tvaheer                                        Lalu        (A   Serv ce and Ratu
                                                                                                                                                                                g
                                                                         ried Nan                                                                                           3
                                                                                                                                             Ailes                              5
                                                                                                                                                         "a   —        TI




                                                                  Swom               an
                                                                                     A                                          Ma 0%
                                                  The
                                                                                                             eZ         —
                                                                                                            me

                                                                                      Notary FF bic Sane d




                                                                   ss
                                                                   ff                                             Ha}
                                                                   Hi {os            =~}       |
                                                                   HEY
                                                                   1%                     od
                                                                   ER
                                                                   -        ey                          *
                                                                            Verve                  oo            vy




    sian       g
I                  SO
